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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

MICHAEL MARINO,                                '
                                               '
                                  Plaintiff,   '
                                               '
v.                                             '
                                               '      CIVIL ACTION NO.: 3:18-cv-1455
NEXTCARE HOLDINGS, INC.                        '
                                               '
                                               '
                                 Defendant     '      JURY TRIAL DEMANDED
                                               '


                            PLAINTIFF’S ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff, Michael Marino (“Marino” or “Plaintiff”), by counsel, brings this action against

Defendant, NextCare Holdings, Inc. (“NextCare” or “Defendant”) and for a cause of action

respectfully shows the Court as follows:

                                                I.

                                        INTRODUCTION

        1.01 Plaintiff worked for Defendant from 2012 until his separation in April, 2017, as

Regional Vice Resident of Defendant’s Eastern region. During the course of Plaintiff’s

employment, he received, in addition to his base compensation, several grants of stock options as

incentive compensation for his performance.

        1.02. Each stock option grant awarded to Plaintiff was for a specific term in which the

shares listed could be exercised at a specific price. At the time of his separation, Defendant,

through its CEO, agreed to extend the exercise date for up to three years from the date of



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Plaintiff’s separation of employment, which was April 14, 2017.       Thus, Plaintiff had until April

17, 2020 to exercise his options.

        1.03 On December 15, 2017, Defendant breached the stock option agreement and broke

its promise to extend the exercise date for the stock options by unilaterally revoking all of

Plaintiff’s options without good cause. As a direct and proximate consequence of Defendant’s

actions, Plaintiff has been monetarily damaged and is therefore seeking compensation in the

amount equivalent to the value of the original stock options, plus attorney’s fees.

                                                   II.

                                             PARTIES

        2.01     Plaintiff Michael Marino is a citizen of the State of Texas who can be contacted in

care of his undersigned counsel.

        2.02     Defendant NextCare is a foreign for-profit corporation organized under the laws

 of Delaware and whose principal offices are located in Phoenix, Arizona.              Defendant is

 qualified to transact business in the state of Texas and can be served through its registered

 agent, Capital Corporate Services, Inc., 206 E. 9th St., Suite 1300, Austin, TX 78701 – 4411.

                                                 III.

                                    JURISDICTION AND VENUE

        3.01     Pursuant to 28 U.S.C. §1333, jurisdiction lies in the United States District Court

for the Northern District of Texas, as this action is between parties of different states and the

amount in controversy is in excess of $75,000, exclusive of interest, costs and attorney’s fees.

This Court has supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C. §1367.

        3.02     Venue for all causes of action stated herein lies in the Northern District of Texas

because the acts alleged in this Complaint took place, in whole or in part, within the boundaries



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of this District pursuant to 28 U.S.C. §1391.

        3.03     This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

Plaintiff’s Texas law claims for breach of contract.

                                                IV.

                                   FACTUAL ALLEGATIONS

        4.01     Plaintiff worked for Defendant, NextCare, as its Regional Vice-President for

Defendant’s Eastern region from 2012 until his separation on April 15, 2017. At the time of his

hire, Defendant enrolled Plaintiff into its 2012 Equity Incentive Plan under which Plaintiff

received various stock option grants.

        4.02     These stock grants were issued to Plaintiff pursuant to the parties’ Stock Option

Agreement invested certain options with Plaintiff until the time of his termination of service.

        4.03     As a result of Plaintiff’s superior service and performance, Defendant issued

Plaintiff various amounts of stock options in 2012, 2014 and 2016. As of 2016, Plaintiff held

approximately 170,000 stock options in NextCare stock. (Copies of the stock option grants and

Stock Option Agreement are attached hereto collectively as Exhibit A.)

        4.04     At the time of Plaintiff’s separation in April 2017, Defendant, through its

President and CEO John M. Julian, promised in writing to extend the exercise date of Plaintiff’s

options for an additional three years. (A copy of the stock option extension agreement is attached

hereto as Exhibit B.)

        4.05     Under the terms of the original stock grant agreement and Plaintiff’s separation

agreement, Plaintiff agreed that he would not solicit any NextCare employees, nor disclose any

trade secrets or confidential business information.    Plaintiff abided by these terms and conditions

in order to preserve his right to exercise the stock options that he received from Defendant.



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        4.06     On or about December 15, 2017, Defendant’s Chief Legal and Compliance

Officer notified Plaintiff that all of the issued stock option grants had been revoked.

        4.07     The stated reason for the revocation of the stock options suggested that Plaintiff

had violated the non-solicitation agreement set forth in the Stock Option Agreement.

        4.08     The non-solicitation agreement provides in pertinent part that Plaintiff will not

hire, engage, employ, solicit, take away, induce, protect, induce (either on his behalf or on behalf

of another person), any person known or reasonably known by Plaintiff to be an employee or

contractor of Defendant.

        4.09      Plaintiff had diligently abided by this restriction and sought to avoid any situation

which might be construed as a violation of these restrictions.       Specifically, Plaintiff avoided any

involvement with Defendant’s employees regarding positions of employment with his current

employer.

        4.10     Following Plaintiff’s separation from Defendant, Plaintiff accepted the position

with another employer, Hospice Source (“Hospice”). Mr. Jeff West (“West”) is Hospice’s CEO.

        4.11        Mr. Randy Giles, (“Giles”) was previously employed by Defendant and knew

Plaintiff when they were both employed at NextCare.

        4.12      Giles had previously worked for West while he was at Apria Health in 2005.

Guiles worked on West’s Regional team in Denver, Colorado.                 Since leaving Apria, Giles

remained in regular contact with West primarily with a view of securing another position

wherever West was employed.

        4.13     Giles repeatedly reached out to West for potential job positions long before he met

Mr. Marino or joined NextCare. Giles and West repeatedly “pinged” each other via text for 18

months prior to his finally obtaining a position with Hospice in approximately October, 2017.



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Giles confirms that Plaintiff played no role whatsoever in his being hired by Hospice.

        4.14      West fully substantiates Giles’ account that he and Giles have been in constant

touch since 2005. West alone interviewed Giles and made the decision to hire him for Hospice,

since he and Mr. Giles had already worked together.

        4.15       West also confirms that Plaintiff played no role in the soliciting, engaging, or

hiring Mr. Giles away from NextCare.

        4.16        While Plaintiff knew Giles during his employment with Defendant, Plaintiff

played no role whatsoever in the solicitation or hiring of Giles by Hospice. Consequently,

Defendants stated reason that Plaintiff violated the non-solicitation provision of the Stock Option

Agreement as grounds for termination of the option grants is error.

        4.17     At no time did Plaintiff urge, or even encourage Mr. Giles to leave NextCare in

order to work for Hospice.

        4.18      Defendant’s termination of Plaintiff’s stock options on December 15, 2017 was

without cause and therefore is in breach of the parties’ stock option agreement.

        4.19     As a direct and proximate cause of Defendant’s actions, Plaintiff has suffered

significant monetary damages and has had to retain legal counsel to pursue his claims.

        4.20     Plaintiff conservatively estimates that he has sustained monetary losses of

approximately $300,000 as a result of the revocation of his options.

                                                       V.

                                            FIRST COUNT

                                     BREACH OF CONTRACT

        5.01     The foregoing paragraphs of this Petition are incorporated in this Count by

reference as fully as if set forth at length herein.



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          5.02   Plaintiff fully performed his contact with Defendant by expanding his business

and generating significant profits for Defendant.

          5.03   Defendant’s unwarranted revocation of Plaintiff’s Stock Options was without

good cause and therefore in violation of the parties’ Stock Option Agreement.

          5.04   Defendant’s actions were also breach of its written promise to extend the exercise

date of Plaintiff’s stock options.

          5.05   These actions caused Plaintiff to incur significant monetary damages in excess of

$300,000, all of which were reasonably foreseeable as well as other direct, indirect, incidental

and consequential damages, both pre-termination and post-termination, for which Plaintiff sues.

          5.06   Although Plaintiff has demanded payment of Plaintiff’s damages, Defendants

have failed and refused to pay same.       Therefore, Defendants are liable to Plaintiff for Plaintiff’s

reasonable and necessary attorneys’ fees pursuant to Tex. Civ. Prac. & Rem. Code § 38.001, et

seq. for which Plaintiff sues.

                                                   VI.

                                      JURY TRIAL DEMAND

          6.01   PLAINTIFF DEMANDS A TRIAL BY JURY.

          WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant NextCare be

cited to appear and answer herein, and that on final trial, Plaintiff have and recover the following

relief:

          1.     Damages for breach of contract;

          2.     Prejudgment and post-judgment interest at the maximum amount allowed by law;

          3.     All costs of Court; and

          4.     Such other and further relief to which Plaintiff may be justly entitled.



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Dated: This 6th day of June, 2018

                                          Respectfully submitted,

                                          KILGORE & KILGORE, PLLC

                                          By:/s/ Nicholas A. O’Kelly
                                                  NICHOLAS A. O’KELLY
                                                  State Bar No. 15241235
                                          3109 Carlisle
                                          Dallas, TX 75204-2471
                                          (214) 969-9099 - Telephone
                                          (214) 953-0133 - Fax
                                          nao@kilgorelaw.com

                                          ATTORNEY FOR PLAINTIFF
                                          MICHAEL MARINO




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                 NEXTCARE HOLDINGS,_ INC. 2012 EQUITY INCENTIVE PLAN

                                 STOCK OPTION GRANT NOTICE

        NextCare Holdings, Inc. (the "Company") hereby grants to you an Option (the "Option") to
purchase shares of the Company's Common Stock under the Company's 2012 Equity Incentive Plan (the
"Plan"). The Option is subject to all the tenns and conditions set forth in this Stock Option Grant Notice
(this "Grant Notice") and in the Stock Option Agreement and the Plan, which are attached to and
incorporated into this Grant Notice in their entirety.

Participant:                                   Michael Marino
Grant Date:                                    September 10, 2012
Vesting Commencement Date:                     June 1, 2012
Number of Shares Subject to Option:            106,558
Exercise Price (per Share):                    $0.06
Option Expiration Date:                        10 years from the Grant Date (subject to earlier
                                               tennination in accordance with the tenns of the Plan and
                                               the Stock Option Agreement)
Type of Option:                                0 Incentive Stock Option*• Nonqualified Stock Option

Vesting and Exercisability Schedule: The Option will vest and become exercisable as follows: one-
third (1/3) of the shares subject to the Option will vest and become exercisable on each of the first three
anniversaries of the Vesting Commencement Date (i.e., this Option will be fully vested after 36 months
from the Vesting Commencement Date), provided that you have not had a Tennination of Service prior to
any such date. In the event of a Change of Control, all of the unvested shares subject to the Option will
automatically vest in full immediately prior to the consummation of the Change of Control.

Additional Terms/Acknowledgement: You acknowledge receipt of, and understand and agree to, this
Grant Notice, the Stock Option Agreement and the Plan. You further acknowledge that as of the Grant
Date, this Grant Notice, the Stock Option Agreement and the Plan set forth the entire understanding
between you and the Company or any Related Company regarding the Option and supersede all prior oral
and written agreements on the subject.

NEXTCARE HOLDINGS; INC.                             PARTICIPANT

By: _ _ _ _ _ _ _ _ _ _ __
Name: John M. Julian                                 Michael Marino
Title: President and Chief Executive Officer         Date:------------
Attachments:                                         Address:
1. Stock Option Agreement                                     -----------
2. 2012 Equity Incentive Plan                        Taxpayer I D : - - - - - - - - - -
*See Sections 3, 4 and 5 of the Stock Option
Agreement




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                NEXTCARE HOLI>lNGS, JNC. 20t2 EQUITY INCENTIVE PLAN
                          STOCK OPTION GR.ANT NOTICE

        Next.Gare Holdings, Joe. (the ~'Company") hereby grants to you an Option (the "Qrui®") to
purchase shares of the Company's Common Stock under the Comp!Ulfs 2012 Equity Incentiv~ Plan (the
"fhml1). The Option is subject to all the terms and ¢onditions set forth in this Stock Option GrantNotiee
(this "Qrant Notice11) and in the Stock Option Agreement ~d the Plan, Which are attached to and
incorporated into this Grant Notice in their entirety;
Pa,rticipant:                                   Micha~!    Marino
Grant Date:                                     October__, 2015
V.,sting Commencement Date:                     July 1. 2015
Number of Shares Subject to Option:             S,OQO
Exercise Price (per Share):                     $0.68
Option Expiration Date:                         10 years from the Grant Date (subject to earlier
                                                termination in accordance with the terms of the Plan and
                                                the Stock Option Agreement)
Type of Option:                                 D Incentive Stock Option • • Nonqualified Stock Option

Vesting and Exerdsability Schedule: The Option will vest.and beeome exercisable as.follows: one-
third ('h) of the shares subject to the Option will vest and become exerci$able ()n ea:ch of the first three
anniversaries of the Vesting Corilttlencement Date (i.e.,. this Option wUl be fully vested after 36 months
from the Vesting Commencement Date),. provided that you have not bad a Termination of Servic.e prior
tQ any such date. In the even~ of a Change of Control, au of the unv~ed sh~$ subj'ect.to the Option
will automatically vest in full immediately prior to the consummatio.n of the Change of Control.
Ad.,Jitional TerinS/Acknt>wledgement: ' Ycfu acknowledge receipt of,. and understand and awee to, this
Grant Notice, the Stock Option Agreement and the Plan. You further acknowledge that as of the Grant
Date; this Grant Notice, the Stock Option Agreement and the Plan i!et forth the entire understanding
between you and the Company or any Related Company regarding the Option and supersede all prior oral
and written agreements on the subject.


                                                     P~ARTIOPANT
                                                     .      •.· . /•/ .~// ..
NEXTCARE HOLDINGS, INC.

By: _ _ _ _ _ _ _ _ ___,__                               .~-'":::;::::w-.
Name: John M. Julian                                'MICHAEL MA 0
Title: President and ChiefBxecutive Officer          Date:_,.---------------
Atta.chinents:                                          Address: _ ___."--_ __...._ _ __
1. Stock Option Agreement
2. 2012 Equity Incentive Plan                            Taxpayer I D : - - - - - - - - -
* See Sections 3, 4 and 5 ofthe Stock Option.
Agreement.




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                    NEXTCARE HOLDINGS, INC. 2012 EQUITY INCENTIVE PLAN

                                 STOCK OPTION GRANT NOTICE

        NextCare Holdings, Inc. (the "Company'') hereby grants to you an Option (the "Option") to
purchase shares of the Company's Common Stock under the Company's 2012 Equity Incentive Plan (the
"Plan"). The Option is subject to all the terms and conditions set forth in this Stock Option Grant Notice
(this "Grant Notice") and in the Stock Option Agreement and the Plan, which are attached to and
incorporated into this Grant Notice in their entirety.

Participant:                                   Michael Marino
Grant Date:                                    January 14, 2014
Vesting Commencement Date:                     June 1, 2013
Number of Shares Subject to Option:            40,000
Exercise Price (per Share):                    $0.06
Option Expiration Date:                        10 years from the Grant Date (subject to earlier
                                               termination in accordance with the terms of the Plan and
                                               the Stock Option Agreement)
Type of Option:                                0 Incentive Stock Option*• Nonqualified Stock Option

Vesting and Exercisability Schedule: The Option will vest and become exercisable as follows: one-
third (113) of the shares subject to the Option will vest and become exercisable on each of the first three
anniversaries of the Vesting Commencement Date (i.e., this Option will be fully vested after 36 months
from the Vesting Commencement Date), provided that you have not had a Termination of Service prior to
any such date. In the event of a Change of Control, all of the unvested shares subject to the Option will
automatically vest in full immediately prior to the consummation of the Change of Control.

Additional Terms/Acknowledgement: You acknowledge receipt of, and understand and agree to, this
Grant Notice, the Stock Option Agreement and the Plan. You further acknowledge that as of the Grant
Date, this Grant Notice, the Stock Option Agreement and the Plan set forth the entire understanding
between you and the Company or any Related Company regarding the Option and supersede all prior oral
and written agreements on the subject.

NEXTCARE HOLDINGS, INC.                                PARTICIPANT

By: _ _ _ _ _ _ _ _ _ _ __
Name: John M. Julian
Title: President and Chief Executive Officer
                                                    ~~ Date:              -- /
Attachments:                                           Address: Z-7Z~ itta.1A.1#1Jv 51  AJ>f /~J.j
1. Stock Option Agreement
2. 2012 Equity Incentive Plan
                                                               lbUAJ,, lx           7C~/0
                                                       Taxpayer ID:
•See Sections 3, 4 and 5 of the Stock Option
Agreement.




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                                                                                                                •:!:
                NEXTCARE HOLDINGS, INC. 2012 EQUITY INCENTIVE PLAN
                          STOCK.OPI'ION GRANT NOTICE

        NextCare Holdings, Inc. (the "Compaw") hereby grants to you an Option (the "Qlmmi") to
purchase shares of the Company's Common Stock under the Company's 2012 Equity Incentive Plan (the
"fllmi. The Option is subject to all the tenns and conditions set forth in this Stock Option Grant Notice
(this "Grant Notice'') and in the Stock Option Agreement and the Plan. which are attached to and
incorporated into this Grant Notice in their entirety.
Participut                                       Michael Marino
Grant Date:                                      November l, 2016
Vesting Commencement Date:                       November 1, 2016
Number of Shares Subject to Option:              18,442
:Exercise Price (per Share):                     $0.40
Option Expiration Date:                          10 years from the Grant Date (subject to earlier
                                                 termination in accordance with the terms of the Plan and
                                                 the Stoek Option Agreement)
Type of Option:                                  D Incentive Stock Option • • Nonqualified Stock Option

Vesting and Exercisability Schedule: The Option will vest and become exercisable a,, follows: one-
third (1/3) of the shares subject to the Option will vest and become exercisable on each of the first three
anniversaries of the Vesting Commencement Date (i.e., this Option will be fully vested after 36 months
from the Vesting Commencement Date), provided that you have not had a Termination of Service prior to
any such date. In the event of a Change of Control, all of the unvested shares subject to the Option will
automatically vest in full immediately prior to the consummation of the Change of Control.

Additional Terms/Acknowledgement: You acknowledge receipt of, and understand and agree to, this
Grant Notice, the Stock Option Agreement and the Plan. You further acknowledge that as of the Grant
Date, this Grant Notice, the Stock Option Agreement and the Plan set forth the entire understanding
between you and the Company or any Related Company regarding the Option and supersede all prior oral
and 'written agreements on tb.e subject.


                                                         PARTIC~~
NEXTCARE HOLDINGS, INC.



~~e:~
Title: President and Chief Executive Officer
                                                         £
                                                         Date: II    tr/J(,
 Attachments:                                            Address:.? 01 D s. <:oaw r t-1 ~r.        APT. JI oI
 1. Stock Option Agreement                                          COIUµ'J If, rx 7~2/ D
 2. 2012 Equity Incentive Plan                           Taxpayer ID: S" '1'1~ /1.. ... 97(.
 • See Sections 3, 4 and 5 of the Stock Option
 Agreement.




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                NEXTCARE HOLDINGS, INC. 2012 EQUITY INCENTIVE PLAN

                                   STOCK OPTION AGREEMENT

        Pursuant to your Stock Option Grant Notice (the "Grant Notice") and this Stock Option
Agreement (this "Agreement"), NextCare Holdings, Inc. (the "Company") has granted you an Option
under its 2012 Equity Incentive Plan (the "Plan") to purchase the number of shares of the Common Stock
indicated in the Grant Notice (the "Shares") at the exercise price indicated in the Grant Notice.
Capitalized terms not defined in this Agreement but defined in the Plan have the same definitions as in the
Plan.

        The details of the Option (as defined in the Grant Notice) are as follows:

        1.      Vesting and Exercisability. Subject to the limitations contained herein, the Option will
vest and become exercisable as provided in the Grant Notice, provided that vesting will cease upon your
Termination of Service and the unvested portion of the Option will terminate.

        2.      Securities Law Compliance. Notwithstanding any other provision of this Agreement, you
may not exercise the Option unless the Shares issuable upon exercise are registered under the Securities
Act or, if such Shares are not then so registered, the Company has determined that such exercise and
issuance would be exempt from the registration requirements of the Securities Act. The exercise of the
Option must also comply with other applicable laws and regulations governing the Option, and you may
not exercise the Option if the Company determines that such exercise would not be in material
compliance with such laws and regulations.

        3.       Incentive Stock Option Qualification. If so designated in the Grant Notice, all or a
portion of the Option is intended to qualify as an Incentive Stock Option under federal income tax law,
but the Company does not represent or guarantee that the Option qualifies as such. If the Option has been
designated as an Incentive Stock Option and the aggregate Fair Market Value (determined as of the Grant
Date) of the shares of Common Stock subject to the portions of the Option and all other Incentive Stock
Options you hold that first become exercisable during any calendar year exceeds $100,000, any excess
portion will be treated as a Nonqualified Stock Option, unless the Internal Revenue Service changes the
rules and regulations governing the $100,000 limit for Incentive Stock Options. A portion of the Option
may be treated as a Nonqualified Stock Option if certain events cause exercisability of the Option to
accelerate.

        4.       Notice of Disguali:tying Disposition. To the extent the Option has been designated as an
Incentive Stock Option, to obtain certain tax benefits afforded to Incentive Stock Options, you must hold
the Shares issued upon the exercise of the Option for two years after the Grant Date and one year after the
date of exercise. By accepting the Option, you agree to promptly notify the Company if you dispose of
any of the Shares within one year from the date you exercise all or part of the Option or within two years
from the Grant Date.

        5.       Alternative Minimum Tax. You may be subject to the alternative minimum tax at the
time of exercise of an Incentive Stock Option.

         6.      Independent Tax Advice. You should obtain tax advice when exercising the Option and
prior to the disposition of the Shares.

      7.       Method of Exercise. You may exercise the Option by giving written notice to the
Company, in form and substance satisfactory to the Company (the "Exercise Notice"), which will state
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your election to exercise the Option and the number of Shares for which you are exercising the Option.
The Exercise Notice must be accompanied by full payment of the exercise price for the number of Shares
you are purchasing. You may make this payment in any combination of the following: (a) by cash;
(b) by check acceptable to the Company; (c) if permitted by the Plan Administrator for Nonqualified
Stock Options, having the Company withhold shares of Common Stock that would otherwise be issued on
exercise of the Option that have a Fair Market Value on the date of exercise of the Option equal to the
exercise price of the Option; (d) if permitted by the Plan Administrator, by using shares of Common
Stock you already own; (e) if the Common Stock is registered under the Exchange Act and to the extent
permitted by law, by instructing a broker to deliver to the Company the total payment required, all in
accordance with the regulations of the Federal Reserve Board; or (f) by any other method permitted by
the Plan Administrator.

        8.       Repurchase Rights; First Refusal Rights: Transfer Restrictions. So long as the Common
Stock is not registered under the Exchange Act, the Company may, in its sole discretion at the time of
exercise, require you to sign a stock purchase agreement or a stockholders agreement, each in the form to
be provided, pursuant to which you will grant to the Company certain repurchase and first refusal rights
                                                                                                              I
                                                                                                              l
                                                                                                              I
to purchase the Shares acquired by you upon exercise of the Option and will agree to the terms of co-sale
and drag-along rights applicable to the Shares. Upon request to the Company, you may review a current         I
form of any applicable agreement(s) prior to exercise of the Option.                                          l
                                                                                                              I

         9.     Market Standoff. You agree that any Shares received upon exercise of the Option will be
subject to the market standoff restrictions on transfer set forth in the Plan.                                I
                                                                                                              I
                                                                                                              ]



        10.    Treatment Upon Termination of Employment or Service Relationship. The unvested
portion of the Option will terminate automatically and without further notice immediately upon your
Termination of Service. You may exercise the vested portion of the Option as follows:

                (a)     General Rule. In the event of your Termination of Service by your employer (or
the party to whom you provide service) other than for Cause, you must exercise the vested portion of the
Option on or before the earlier of (i) three months after your Termination of Service and (ii) the Option
Expiration Date (as defined in the Grant Notice);

               (b)      Disability. In the event of your Termination of Service due to Disability, you
must exercise the vested portion of the Option on or before the earlier of (i) six months after your
Termination of Service and (ii) the Option Expiration Date;

                 (c)     Death. In the event of your Termination of Service due to your death, the vested
portion of the Option must be exercised on or before the earlier of (i) six months after your Termination
of Service and (ii) the Option Expiration Date. If you die after your Termination of Service but while the
Option is still exercisable, the vested portion of the Option may be exercised until the earlier of (x) six
months after the date of death and (y) the Option Expiration Date; and

                 (d)      Cause. The vested portion of the Option will automatically expire at the time
you are first notified of your Termination of Service for Cause, unless the Plan Administrator determines
otherwise. If your employment or service relationship is suspended pending an investigation of whether
you will be terminated for Cause, all your rights under the Option likewise will be suspended during the
period of investigation. If any facts that would constitute termination for Cause are discovered after your
Termination of Service, any Option you then hold may be immediately terminated by the Plan
Administrator.




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               (e)      Voluntary. The vested portion of the Option will automatically expire at the time
the Company is notified of your voluntary Termination of Service.

        To qualify for the beneficial tax treatment afforded Incentive Stock Options, if applicable, the
Option must be exercised within three months after termination of employment for reasons other than
death or disability and one year after termination of employment due to disability. For purposes of the
preceding, "disability" has the meaning attributed to that term for purposes of Section 422 of the Code.

         It is your responsibility to be aware of the date the Option terminates.

         11.     Limited Transferability. During your lifetime only you can exercise the Option. The
Option is not transferable except by will or by the applicable laws of descent and distribution. The Plan
provides for exercise of the Option by a beneficiary designated on a Company-approved form or the
personal representative of your estate. Notwithstanding the foregoing and to the extent permitted by the
Plan and Section 422 of the Code, the Plan Administrator, in its sole discretion, may permit you to assign
or transfer the Option, subject to such terms and conditions as specified by the Plan Administrator.

         12.    Withholding Taxes. As a condition to the exercise of any portion of the Option, you
must make such arrangements as the Company may require for the satisfaction of any federal, state, local
or foreign tax withholding obligations that may arise in connection with such exercise.

        13.     Option Not an Employment or Service Contract. Nothing in the Plan or this Agreement
will be deemed to constitute an employment contract or confer or be deemed to confer any right for you
to continue in the employ of, or to continue any other relationship with, the Company or any Related
Company or limit in any way the right of the Company or any Related Company to terminate your
employment or other relationship at any time, with or without Cause.

          14.      No Right to Damages. You will have no right to bring a claim or to receive damages if
  you are required to exercise the vested portion of the Option within three months (six months in the case
  of Disability or death) of your Termination of Service or if any portion of the Option is cancelled or
  expires unexercised. The loss of existing or potential profit in the Option will not constitute an element of
· damages in the event of your Termination of Service for any reason even if the termination is in violation
  of an obligation of the Company or a Related Company to you.

        15.    Binding Effect. This Agreement will inure to the benefit of the successors and assigns of
 the Company and be binding upon you and your heirs, executors, administrators, successors and assigns.

          16.     Section 409A Compliance. Notwithstanding any provision in the Plan or this Agreement
 to the contrary, the Plan Administrator may, at any time and without your consent, modify the terms of
 the Option as it determines appropriate to avoid the imposition of interest or penalties under Section 409A
 of the Code; provided, however, that the Plan Administrator makes no representations that the Option
 shall be exempt from or comply with Section 409A of the Code and makes no undertaking to preclude
 Section 409A of the Code from applying to the Option.

         17.      Restrictive Covenants. You acknowledge and agree that, in consideration for the
 Company's grant of the Option to you, you are bound by all of the restrictive covenants described in this
 Section 17. The Option will immediately terminate if you violate the terms of any restrictive covenant or
 agreement entered into between you and the Company or a Related Company at any time, whether
 contained in this Section 17 or otherwise.




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                  (a)      Confidential Information. You acknowledge that on the Grant Date you are in
possession of and thereafter will receive confidential information of the Company and Related Companies
that the Company considers to be valuable trade secrets. Except as pennitted by the Board or by
Company policies approved by the Board, during your .employment with the Company and at all times
thereafter, you shall not divulge, furnish or make accessible to anyone or use in any way other than in the
ordinary course of the business of the Company and its subsidiaries, any confidential, proprietary or
secret knowledge or infonnation of the Company or any of Related Company that you have acquired or
shall acquire during you employment with the Company, whether developed by yourself or by others,
concerning (i) any trade secrets of the Company or its Related Companies; (ii) any confidential,
proprietary or secret designs, processes, formulae, plans, devices or material (whether or not patented or
patentable) directly or indirectly useful in any aspect of the business of the Company or its Related
Companies; (iii) any customer or supplier lists of the Company or its Related Companies; (iv) any
confidential, proprietary or secret development or research work of the Company or its Related
Companies; (v) any strategic or other business, marketing or sales plans of the Company or its Related
Companies; (vi) any financial data or plans respecting the Company or its Related Companies; or (vii)
any other confidential or proprietary information or secret aspects of the business of the Company or its
Related Companies. You acknowledge that the above-described knowledge and information constitutes a
unique and valuable asset of the Company or its Related Companies, as applicable, and represents a
substantial investment of time and expense by the Company or its Related Companies, as applicable, and
that any disclosure or other use of such knowledge or information other than for the sole benefit of the
Company or its Related Companies, as applicable, would be wrongful and would cause irreparable harm
to the Company or its Related Companies, as applicable. You shall refrain from any acts or omissions
that would reduce the value of such knowledge or information to the Company or its Related Companies,
as applicable. The foregoing obligations of confidentiality shall not apply to any knowledge or
 information that (i) is now or subsequently becomes generally publicly known in the form in which it was
obtained from the Company, other than as a direct or indirect result of the breach of this Agreement by
 you, or (ii) is required to be disclosed by legal process. Your obligations in this Section l 7(a) shall
 survive the Termination of Service.

                 (b)     Ventures: Intellectual Property. If, during your employment with the Company,
you are engaged in' or associated with the planning or implementing of any project, program, or venture
involving the Company or its Related Companies and a third party or parties, all rights in such project,
program, or venture shall belong to the Company or its Related Companies, as applicable. Except as
approved in writing by the Board, you shall not be entitled to any interest in any such project, program, or
venture or to any commission, finder's fee, or other compensation In connection therewith. Except as
expressly pennitted by Section 17(c), you shall have no interest, direct or indirect, in any customer or
supplier that conducts business with the Company or its Related Companies, unless such interest has been
disclosed in writing to and approved by the Board before such customer or supplier seeks to do business
with the Company or its Related Companies, as applicable. All know-how, improvements and inventions,
whether or not patentable, and trade secret information conceived or originated by you that arise during
your employment with the Company or out of the performance of your duties and responsibilities
thereunder or any related material or information shall be the property of the Company, and all rights
therein are hereby assigned by you to the Company. All right, title, and interest in all copyrightable
material that you shall conceive or originate individually or jointly or commonly with others, and that
arise during your employment with the Company or out of the performance of your duties and
responsibilities thereunder, shall be the property of the Company, shall be considered ''works made for
hire," as defined in the U.S. Copyright Act, and are hereby assigned by you to the Company, along with
ownership of any and all copyrights in the copyrightable material. You shall execute any and all
instruments and perform all other acts necessary in furtherance of this Section 17(b), including without
limitation, all actions necessary to file patent applications and to register copyrights on behalf of the
Company. Your obligations in this Section 17(b) shall survive the termination of your employment.



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                 (c)     Nonsolicitation.

                         (i)       For purposes of this Section 17(c), (A) the term "Restricted Business"
means any business activity or enterprise that competes with the Company or any of its Related
Companies or any services or other activity (or any substantially similar service, activity or line of
business) related to the development, delivery or management of urgent care, family practice, workers
compensation-related, or emergency medical services and (B) the tenn "Person" means and includes an
individual, a partnership, a joint venture, a corporation, a trust, an association, a limited liability company,
an unincorporated organization and any other entity, and a government or any department, political
subdivision or agency thereof.

                           (ii)    You covenant and agree that during your employment with the Company
and for two (2) years thereafter (the "Restricted Period"), you will not on behalf of yourself or directly or
indirectly through another Person (including without limitation as a proprietor, owner, principal, agent,
partner, officer, director, stockholder, employee, manager, member, consultant or otherwise):

                                  (A)     solicit, divert, take away, or otherwise attempt in any manner to
solicit, divert, or take away, the business of any customer, supplier or other business relation of the
Company or any of its Related Companies that you know, or reasonably should know, is a customer,
supplier or other business relation of the Company, for a purpose that is related to a Restricted Business,
or in any way interfere with the relationship between any such customer, supplier or other business
relation and the Company or any of its Related Companies (including, without limitation, inducing such
Person to cease doing business with the Company or any of its Related Companies or making any
negative statements or communications about the Company or any of its Related C_ompanies);

                                  (B)     hire, engage, employ, solicit, take away, induce or attempt to
hire, engage, solicit, take away or induce (either on your behalf or on behalf of any other Person) any
Person who you know, or reasonably should know, is then an employee or contractor of the Company or
any of its Related Companies or who was an employee or contractor of the Company or any of its Related
Companies (with respect to the Company's or any of its Related Companies' business) at any time during
the six-month period immediately preceding termination of your employment with the Company, if
applicable; provided, however, the restrictions in this Section 17(c)(ii) shall not apply to (1) any
contractor who or which has provided services to the other Person prior to the Termination Date, or
(2) any individual whose employment was previously terminated by the Company or any of its Related
Companies and, provided, further, the foregoing shall not apply to any general solicitation conducted
through the use of advertisements in the media, through the use of search firms or other routine recruiting
activities, provided that such searches are not specifically targeted at employees of the Company or any of
its Related Companies and that any Person who you are otherwise precluded from hiring, engaging,
employing, soliciting or taking away under this Section l 7(c)(ii) is not hired to fill such open position; or

                                 (C)     directly or indirectly ( 1) acquire or attempt to acquire any
existing business of the Company or any of its Related Companies, (2) acquire or attempt to acquire any
potential acquisition target of the Company (an "Acquisition Target") that you know, or reasonably
should know, the Company intends to pursue or is interested pursuing, or (3) take any action to induce or
attempt to induce any Acquisition Target to consummate any acquisition, investment or other similar
transaction with any Person other than the Company or any of its Related Companies.

Nothing herein shall prohibit you from (A) being a passive owner of not more than 1% of the outstanding
stock of any class of securities of any Person listed on a national securities exchange that is engaged in a
Restricted Business, so long as you have no active participation in the Restricted Business of such Person




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and do not serve on the board of directors or similar body of such Person, or (B) performing any services
to the Company or its subsidiaries or that are otherwise permitted hereunder.

                        (iii)   You and the Company hereby agree and acknowledge that the
Company's business is global in nature and therefore the geographic scope of the nonsolicitation
covenants set forth in Section 17(c)(ii) is reasonable, necessary and appropriate in light of the nature of
the Company's business.

                         (iv)     If the duration or scope of, or any business activity covered by, any
provision of this Section 17(c) is in excess of what is determined to be valid and enforceable under
applicable law, such provision shall be construed to cover only that duration, scope or activity that is
determined to be valid and enforceable. You hereby acknowledge that this Section 17(c) shall be given
the construction that renders its provisions valid and enforceable to the maximum extent, not exceeding
its express terms, possible under applicable law.

                          (v)     You acknowledge and affirm that a breach of Section 17(c)(ii) by you
cannot be adequately compensated in an action for damages at law, and equitable relief would be
necessary to protect the Company and its Related Companies from a violation of this Section 17(c) and
from the harm that this Section 17(c) is intended to prevent. Accordingly, you agree that in the event of
any actual or threatened breach of such provisions, the Company and its Related Companies shall (in
addition to any other remedies that they may have) be entitled to enforce their rights and your obligations
under this Section 17(c) not only by an action or actions for damages, but also by an action or actions for
specific performance, temporary or permanent injunctive relief or other equitable relief in order to enforce
or prevent any violations (whether anticipatory, continuing or future) of the provisions of this Section
17(c) (including the extension of the Restricted Period by a period equal to (A) the length of the violation
of this Section l 7(c), plus (B) the length of any court proceedings necessary to stop such violation) and
recover attorneys' fees and costs for the same, and such relief may be granted without the necessity of
proving actual damages or the inadequacy of money damages, or posting bond. In the event of a breach
or violation by you of this Section 17(c), the running of the Restricted Period (but not your obligations
under this Section 17(c)) shall be tolled with respect to you during the continuance of any actual breach or
violation, but in no event will the Restricted Period be less than two (2) years.

                         (vi)     You agree that your obligations under this Section 17(c) shall survive the
termination or expiration of this Agreement and your Termination of Service, except by express
agreement of you and the Company, whether or not you are terminated with or without Cause, or whether
such termination is at the your instance or occurs before or after expiration of the Option Term.




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July 14, 2017


Michael Marino

Pursuant to the authorization provided to me by the Board of Directors of NextCare Holdings, Inc., the
time for you to exercise your right to purchase the Stock Options awarded to you under the 2012 Equity
Incentive Plan of NextCare Holdings, Inc. and vested as of your last day of employment with NextCare,
Inc. is extended three (3) years from the date your employment with NextCare Inc. was terminated.
(Termination Date: April 14, 2017)

Any Options vested as of your termination date must be exercised on or before the date referenced
above by providing an Exercise Notice pursuant to the 2012 Equity Incentive Plan of NextCare Holdings,
Inc. along with full payment for all sums then due.




NextCare, Inc.




                 1138 North Alma School Road, Ste.no, Mesa, AZ 8520·1   I   t.888.381,4858   I   www.nextcare.com
